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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                              Case No. 2:-12-CR-9-3-JRG-RSP
                                                 §
JOELI HIGUERA FERNANDEZ                          §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

       On May 3, 2013, this cause came before the undersigned United States Magistrate Judge for

a plea of guilty to the superseding indictment charging the defendant in Count 1 with a violation of

21 U.S.C. ' 846, Conspiracy to Possess with Intent to Distribute and Distribution of more than 50

grams of Methamphetamine. After conducting said proceeding in the form and manner prescribed

by FED. R. CRIM. P. 11, the undersigned finds that:

       a.      the defendant, after consultation with counsel of record, has knowingly and

voluntarily consented to the administration of the Guilty Plea in this cause by a United States

Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

       b.      the defendant and the government have entered into a plea agreement which has

been filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

       c.      the defendant is fully competent and capable of entering an informed plea, that the

defendant is aware of the nature of the charges , the maximum penalties, and the consequences of

the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

basis in fact containing each of the essential elements of the offense; and


                                                 1
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       d.      the defendant understands each of the constitutional and statutory rights enumerated

in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

       IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement
 .
and the Guilty Plea of the defendant and that JOELI HIGUERA FERNANDEZ should be finally

adjudged guilty of that offense.

       A party=s failure to file written objections to the findings, conclusions and recommendations

contained in this Report within 14 days after being served with a copy shall bar that party from de

novo review by the district judge of those findings, conclusions and recommendations and, except

on grounds of plain error, from appellate review of unobjected-to factual findings and legal

conclusions accepted and adopted by the district court. FED. R. CIV. P. 72(b)(2); see Douglass v.

United Servs. Auto. Ass=n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).
        SIGNED this 3rd day of January, 2012.
        SIGNED this 6th day of May, 2013.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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